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                                                                  IN THE CIRCUIT COURT OF COOK COUNTY, ILLINOIS DOROTHY BROWN
                                                                                                                CIRCUIT CLERK
                                                                        COUNTY DEPARTMENT, LAW DIVISION         COOK COUNTY, IL
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                                                   EDUARDO GUZMAN and KARLA                   )
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                                            CM     AVINA,                                     )
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                                            a.                                                )
                                            s(Si                                Plaintiffs,   )
                                            o>           vs.                                  )     No.: 2017 L 3510
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                                                   PRAIRIE MANAGEMENT &                       )
                                            5      DEVELOPMENT, INC.;                         )
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                                                    PHOENIX COMMUNITY                         )
                                            =!
                                            Li.    BUILDERS, INC; ROCKWELL PROPERTIES,        )
                                                   LLC; DAVID HUTH, Individually and          )
                                                   d/b/a H & H CONTRACTING; PATRICK           )
                                                   ROSEN and MICHAEL ROSEN, Individually      )
                                                   and d/b/a ROSEN ARCHITECTURE;              )
                                                   HIGHLAND ENGINEERING, P.C.; EPIC           )
                                                   BUILDERS, INC.; NORTH SHORE                )
                                                   BRICKWORK AND WINDOWS, INC.,; AND          )
                                                   HERA CONSTRUCTION, INC.                    )
                                                                                              )
                                                                                Defendants.   )

                                                               PLAINTIFFS' THIRD AMENDED COMPLAINT AT LAW

                                                          NOW COME the Plaintiffs, EDUARDO GUZMAN and KARLA AVINA, by and

                                                   through their attorneys, PULLANO LAW OFFICES, complaining of PRAIRIE

                                                   MANAGEMENT & DEVELOPMENT, INC.; PHOENIX COMMUNITY BUILDERS,

                                                   INC.; ROCKWELL PROPERTIES, LLC; DAVID HUTH, Individually and d/b/a H & H

                                                   CONTRACTING; PATRICK ROSEN and MICHAEL ROSEN, Individually and d/b/a

                                                   ROSEN ARCHITECTURE; HIGHLAND ENGINEERING, P.C.; EPIC BUILDERS, INC.;

                                                   NORTH SHORE BRICKWORK AND WINDOWS, INC., and HERA CONSTRUCTION,

                                                   INC. and state as follows:




                                                                     Columbia - Scottsdale/Westfield 000148
                                                                                                                          EXHIBIT 1
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                                                                          COUNT I - Construction Negligence -
                                                                  vs. PRAIRIE MANAGEMENT & DEVELOPMENT, INC.
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                                                               On or about March 13, 2017, Defendant, PRAIRIE MANAGEMENT &
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                                                  DEVELOPMENT, INC., was engaged in the supervision, observation and construction
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                                                  management of the property located at 3057 N. Rockwell Street, Chicago, Illinois
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                                                  (hereinafter referred to as the construction site).
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                                            iii           2. At all times relevant herein, the Defendant, PRAIRIE MANAGEMENT &
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                                                  DEVELOPMENT, INC., was the construction manager and occupier of the construction
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                                                  site.

                                                          3. On or about March 13, 2017, the Plaintiff, EDUARDO GUZMAN, was an

                                                  employee of TDH MECHANICAL, INC. and was a lawful entrant upon the

                                                  construction site and a business invitee who was engaged in HVAC work on the

                                                  construction site.

                                                          4. That Defendant, PRAIRIE MANAGEMENT & DEVELOPMENT, INC., as

                                                  supervisor, construction manager and occupier of the construction site, owed a duty of

                                                  care to the Plaintiff not to injure him in the course of its respective activities at the

                                                  construction site or its occupancy of the premises.

                                                          5. At all relevant times herein, the Defendant, PRAIRIE MANAGEMENT &

                                                  DEVELOPMENT, INC., had overall responsibility for safety at the construction site,

                                                  including the work area where Plaintiff was working at the time of his injuries.

                                                          6. That while Plaintiff was working at the above construction site on March 13,

                                                  2017, he fell through an unguarded opening in the 2nd floor and fell approximately 22

                                                  feet thereby sustaining serious injuries.




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                                                         7.    At all relevant times herein. Defendant, PRAIRIE MANAGEMENT &
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                                                  DEVELOPMENT, INC., owed a duty of due care to the Plaintiff, including the duty to
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                                                  exercise reasonable care towards Plaintiff during construction.
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                                            CL
                                                         8.    At all relevant times herein. Defendant, PRAIRIE MANAGEMENT &
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                                            CD
                                            5     DEVELOPMENT, INC., owed a duty of duty care to the Plaintiff including the duty to
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                                                  keep itself informed of the condition of the worksite and take whatever safety
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                                                  precautions were necessary to protect against foreseeable injuries to Plaintiff, including
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                                                  the duty to keep the elevated 2nd floor safe and without dangerous, unmarked and

                                                  unsecured openings in the floor.

                                                         9.    The Defendant, PRAIRIE MANAGEMENT & DEVELOPMENT, INC.,

                                                  breached its duty of due care owed to Plaintiff, EDUARDO GUZMAN, in one or more

                                                  of the following respects:

                                                         (a)    Defendant carelessly and negligently failed to supervise, inspect and
                                                                monitor the construction site in order to prevent and protect Plaintiff from
                                                                falling through the unguarded opening in the floor;

                                                         (b)    Defendant carelessly and negligently failed to supervise, inspect, monitor,
                                                                and coordinate the work of the subcontractors on the construction site in
                                                                order to prevent and protect Plaintiff from falling through the unprotected
                                                                opening in the floor;

                                                        (c)     Defendant carelessly and negligently allowed the opening in the wood
                                                                floor to remain open and unprotected which Plaintiff fell through and
                                                                sustained serious personal injuries;

                                                        (d)     Defendant carelessly and negligently failed to warn and alert Plaintiff of
                                                                the opening in the floor;

                                                        (e)    Defendant carelessly and negligently violated OSHA regulation
                                                               §1926.500(b)(l) in failing to protect the floor opening as required;




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                                                                    Columbia - Scottsdale/Westfield 000150
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                                                            (f)     Defend and carelessly and negligently violated OSHA regulation
                                                                    §1926.503(a) by failing to train employees in proper procedures to guard
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                                            £                       against fall protection;
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                                            5               (g)    Defendant carelessly and negligently violated OSHA Rule §926.56 by
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                                                                   failing to provide adequate illumination near the area of the opening in
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                                            Q.                     the 2nd floor Plaintiff fell through;
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                                            o               (h)    Defendant carelessly and negligently failed to inspect or otherwise keep
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                                                                   itself informed of the condition of the worksite and take necessary safety
                                            LU                     precautions to prevent the opening in the floor from causing falls and to
                                            <                      protect against foreseeable injuries, including those to the Plaintiff herein;
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                                                            (i)    Defendant carelessly and negligently failed to provide Plaintiff with a safe
                                                                   work place by allowing the opening in the floor to remain unprotected
                                                                   and exposed Plaintiff to the risk of falling through the opening; and

                                                            0)     Defendant carelessly and negligently failed to properly supervise the
                                                                   construction site and monitor work of its subcontractors, and thereby
                                                                   allowed its subcontractors to engage in the unsafe practice of not covering
                                                                   or guarding the unmarked opening in the floor with appropriate
                                                                   protection which exposed Plaintiff to the risk of falling through the
                                                                   opening.

                                                            10.   As a direct and proximate result of one or more of the foregoing breaches,

                                                  the Plaintiff was injured at the construction site.            By reason thereof. Plaintiff,

                                                  EDUARDO GUZMAN, sustained multiple serious injuries; was hospitalized; required

                                                  surgery; has suffered and will continue to suffer pain and mental anguish; has incurred

                                                  and will incur in the future lost earnings; has been disabled and will continue to be

                                                  disabled; has sustained the loss of a normal life; disfigurement; and has incurred and

                                                  will continue to incur sums of money for medical treatment of said injuries into the

                                                  future.

                                                            WHEREFORE, Plaintiff, EDUARDO GUZMAN, prays for judgment against

                                                  Defendant, PRAIRIE MANAGEMENT & DEVELOPMENT, INC., for an amount in




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                                                                        Columbia - Scottsdale/Westfield 000151
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                                                  excess of the jurisdictional amount of FIFTY THOUSAND DOLLARS ($50,000.00), plus
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                                            CO    costs for this action and such further relief as this Court deems just and proper.
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                                            §                                 COUNT II - Loss of Consortium
                                            5                                  Re: Plaintiff. KARLA AVINA
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                                            O)           1-10. Plaintiff, KARLA AVINA, re-alleges paragraphs 1 through 10 of Count I,
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                                            CO    as paragraphs 1 through 10 of COUNT II herein.
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                                            o            11. Plaintiff's spouse, KARLA AVINA, is and at all times mentioned in
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                                            u.    COUNTS I and II, was the lawful wedded wife of Plaintiff, EDUARDO GUZMAN, and

                                                  has continuously been living with, consorting and cohabiting with her husband.

                                                         12.   Because of said injuries to Plaintiff, EDUARDO GUZMAN, and as a direct

                                                  and proximate consequence of the negligent, wrongful and careless acts of Defendant,

                                                  PRAIRIE MANAGEMENT              & DEVELOPMENT,           INC.,   as aforesaid.       Plaintiff,
                                                  EDUARDO GUZMAN, became permanently damaged in and about his body and will

                                                  remain so for the duration of his life; and Plaintiff's wife, KARLA AVINA, has been and

                                                  will continue to be caused to expend large sums of money for services which her

                                                  husband could and would have performed for her, and has been and will continue to be

                                                  otherwise greatly injured, inconvenienced and harassed by means of the negligence and

                                                  carelessness of Defendant, PRAIRIE MANAGEMENT & DEVELOPMENT, INC., as

                                                  aforesaid.

                                                         WHEREFORE, Plaintiff, KARLA AVINA, prays for judgment against Defendant,

                                                  PRAIRIE MANAGEMENT & DEVELOPMENT, INC., for an amount in excess of FIFTY

                                                  THOUSAND DOLLARS, ($50,000.00), plus costs for this action and such further relief

                                                  as the Court deems just and proper.




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                                                                    Columbia - Scottsdale/Westfield 000152
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                                            g                            COUNT III - Construction Negligence
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                                            r-                 vs. PAUL LEVY and PHOENIX COMMUNITY BUILDERS. INC.
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                                                          1.   On or about March 13, 2017, Defendants, PAUL LEVY, Individually, and
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                                            o     PHOENIX COMMUNITY BUILDERS, INC., (hereinafter referred to as PHOENIX), in
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                                            lii   one or more combinations, were engaged in the supervision, observation and
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                                                  construction management of the property located at 3057 N. Rockwell Street, Chicago,
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                                                  Illinois (hereinafter referred to as the construction site).

                                                          2.   At all times relevant herein, the Defendants, PAUL LEVY, Individually, and

                                                  PHOENIX, in one or more combinations, were the construction managers and occupiers

                                                  of the construction site.

                                                          3.   On or about March 13, 2017, the Plaintiff, EDUARDO GUZMAN, was an

                                                  employee of TDH MECHANICAL, INC. and was a lawful entrant upon the

                                                  construction site and a business invitee who was engaged in HVAC work on the

                                                  construction site.

                                                          4.   That Defendants PAUL LEVY, Individually, and PHOENIX, in one or more

                                                  combinations, as supervisors, construction managers and occupiers of the construction

                                                  site, owed a duty of care to the Plaintiff not to injure him in the course of their

                                                  respective activities at the construction site or their occupancy of the premises.

                                                         5.    At all relevant times herein, the Defendants, PAUL LEVY, Individually, and

                                                  PHOENIX, in one or more combinations, had overall responsibility for safety at the

                                                  construction site, including the work area where Plaintiff was working at the time of his

                                                  injuries.




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                                                         6.    That while Plaintiff was working at the above construction site on March 13,
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                                            g     2017, he fell through an unguarded opening in the 2nd floor and fell approximately 22
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                                            O     feet thereby sustaining serious injuries.
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                                            a.           7.    At all relevant times herein. Defendants, PAUL LEVY, Individually, and
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                                                  PHOENIX, in one or more combinations, owed a duty of due care to the Plaintiff,
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                                                  EDUARDO GUZMAN, including the duty to exercise reasonable care towards Plaintiff
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                                            a     during construction.
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                                                         8.    At all relevant times herein. Defendants, PAUL LEVY, Individually, and

                                                  PHOENIX, in one or more combinations, owed a duty of duty care to the Plaintiff,

                                                  EDUARDO GUZMAN, including the duty to keep themselves informed of the

                                                  condition of the worksite and take whatever safety precautions were necessary to

                                                  protect against foreseeable injuries to Plaintiff, EDUARDO GUZMAN, including the

                                                  duty to keep the elevated 2nd floor safe and without dangerous, unmarked and

                                                  unsecured openings in the floor.

                                                         9.    The Defendants, PAUL LEVY, Individually, and PHOENIX, in one or more

                                                  combinations, breached their duty of due care owed to Plaintiff, EDUARDO GUZMAN,

                                                  in one or more of the following respects:

                                                         (a)    Defendants, in one or more combinations, carelessly and negligently
                                                                failed to supervise, inspect and monitor the construction site in order to
                                                                prevent and protect Plaintiff from falling through the unguarded opening
                                                                in the floor;

                                                         (b)    Defendants, in one or more combinations, carelessly and negligently
                                                                failed to supervise, inspect, monitor, and coordinate the work of the
                                                                subcontractors on the construction site in order to prevent and protect
                                                                Plaintiff from falling through the unprotected opening in the floor;




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                                                         (c)     Defendants, in one or more combinations, carelessly and negligently
                                                                 allowed the opening in the wood floor to remain open and unprotected
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                                                                 which Plaintiff fell through and sustained serious personal injuries;
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                                                         (d)     Defendants, in one or more combinations, carelessly and negligently
                                            S                    failed to warn and alert Plaintiff of the opening in the floor;
                                            S                    Defendants, in one or more combinations, carelessly and negligently
                                                         (e)
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                                                                 violated OSHA regulation §1926.500(b)(l) in failing to protect the floor
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                                                                 opening as required;
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                                                        (0       Defendants, in one or more combinations, carelessly and negligently
                                            LLJ                  violated OSHA regulation §1926.503(a) by failing to train employees in
                                            c                    proper fall protection procedures to guard against falls;

                                                        (g)      Defendants, in one or more combinations, carelessly and negligently
                                                                 violated OSHA Rule §926.56 by failing to provide adequate illumination
                                                                 near the area of the opening in the 2nd floor that Plaintiff fell through;

                                                        (h)     Defendants, in one or more combinations, carelessly and negligently
                                                                failed to inspect or otherwise keep themselves informed of the condition
                                                                of the worksite and take necessary safety precautions to prevent the
                                                                opening in the floor from causing falls and to protect against foreseeable
                                                                injuries, including those to the Plaintiff herein;

                                                        (i)     Defendants, in one or more combinations, carelessly and negligently
                                                                failed to provide Plaintiff with a safe work place by allowing the opening
                                                                in the floor to remain unprotected and exposed Plaintiff to the risk of
                                                                falling through the opening; and

                                                        (j)     Defendants, in one or more combinations, carelessly and negligently
                                                                failed to properly supervise the construction site and monitor work of its
                                                                subcontractors, and thereby allowed its subcontractors to engage in the
                                                                unsafe practice of not covering or guarding the unmarked opening in the
                                                                floor with appropriate protection which exposed Plaintiff to the risk of
                                                                falling through the opening.

                                                        10.    As a direct and proximate result of one or more of the foregoing breaches,

                                                  the Plaintiff was injured at the construction site.       By reason thereof. Plaintiff,

                                                  EDUARDO GUZMAN, sustained multiple serious injuries; was hospitalized; required




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                                                  surgery; has suffered and will continue to suffer pain and mental anguish; has incurred
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                                            g     and will incur in the future lost earnings; has been disabled and will continue to be
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                                                  disabled; has sustained the loss of a normal life; disfigurement; and has incurred and
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                                            a.    will continue to incur sums of money for medical treatment of said injuries into die
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                                            5     future.
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                                                            WHEREFORE, Plaintiff, EDUARDO GUZMAN, prays for judgment against
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                                            Q     Defendant, PAUL LEVY, Individually, and PHOENIX COMMUNITY BUILDERS, INC.,
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                                                  jointly and severally, for an amount in excess of the jurisdictional amount of FIFTY

                                                  THOUSAND DOLLARS ($50,000.00), plus costs for this action and such further relief as

                                                  this Court deems just and proper.

                                                                             COUNT IV - Loss of Consortium
                                                                              Re: Plaintiff. KARLA AVINA

                                                        1-10. Plaintiff, KARLA AVINA, re-alleges paragraphs 1 through 10 of Count III,

                                                  as paragraphs 1 through 10 of COUNT IV herein.

                                                        11.    Plaintiffs spouse, KARLA AVINA, is and at all times mentioned in

                                                  COUNTS V and VI, was the lawful wedded wife of Plaintiff, EDUARDO GUZMAN,

                                                  and has continuously been living with, consorting and cohabiting with her husband.

                                                        12.    Because of said injuries to Plaintiff, EDUARDO GUZMAN, and as a direct

                                                  and proximate consequence of the negligent, wrongful and careless acts of Defendants,

                                                  PAUL LEVY, Individually, and PHOENIX COMMUNITY BUILDERS, INC, as

                                                  aforesaid. Plaintiff, EDUARDO GUZMAN, became permanently damaged in and about

                                                  his body and will remain so for the duration of his life; and Plaintiff's wife, KARLA

                                                  AVINA, has been and will continue to be caused to expend large sums of money for

                                                  services which her husband could and would have performed for her, and has been and


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                                                  will continue to be otherwise greatly injured, inconvenienced and harassed by means of
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                                                  the negligence and carelessness of Defendants, PAUL LEVY, Individually, and

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                                                  PHOENIX COMMUNITY BUILDERS, INC., as aforesaid.
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                                            a.              WHEREFORE, Plaintiff,     KARLA AVINA, prays for judgment            against
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                                            5     Defendants, PAUL LEVY, Individually, and PHOENIX COMMUNITY BUILDERS,
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                                            ui    INC., for an amount in excess of FIFTY THOUSAND DOLLARS, ($50,000.00), plus costs
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                                                  for this action and such further relief as the Court deems just and proper.
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                                                                                    COUNT V - Negligence
                                                                              vs. ROCKWELL PROPERTIES. LLC

                                                            1.   On or about March 13, 2017 and sometime prior thereto. Defendant,

                                                  ROCKWELL PROPERTIES, LLC, was the legal owner of the construction site located at

                                                  3057 N. Rockwell, Chicago, Illinois, 60618, legally described in Exhibit A, attached

                                                  hereto.

                                                            2.   On or about March 13, 2017 and sometime prior thereto Defendant,

                                                  ROCKWELL PROPERTIES, LLC, owned, operated, leased, occupied, managed,

                                                  maintained and controlled the aforementioned property located at 3057 N. Rockwell,

                                                  Chicago, Illinois, 60618.

                                                         3.      At all times relevant herein, Defendants, ROCKWELL PROPERTIES, LLC,

                                                  in one or more combinations, were planners, managers, builders and occupiers of the

                                                  construction site and were the owners of the premises.

                                                         4.      On or about March 13, 2017, Plaintiff, EDUARDO GUZMAN, was an

                                                  employee of TDH MECHANICAL, INC. and was a lawful entrant upon the




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                                                                      Columbia - Scottsdale/Westfield 000157
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                                                  construction site and a business invitee who was engaged in HVAC work on the
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                                            CO    construction site.
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                                                         5.   That Defendant, ROCKWELL PROPERTIES, LLC, in one or more
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                                            Q.    combinations, breached its duty of care pursuant to the Illinois Premises Liability Act
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                                                  by allowing the opening in the 2nd floor to remain unguarded, unmarked and
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                                                  unsecured, which exposed. Plaintiff, EDUARDO GUZMAN, to the risk of falling
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                                            Q     through said opening.
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                                                         6.   That while Plaintiff was working at the above construction site on March 13,

                                                  2017, he fell through an unguarded opening in the 2nd floor and fell approximately 22

                                                  feet thereby sustaining serious injuries.

                                                         7.   That as owners and occupiers of the property it was the duty of Defendant,

                                                  ROCKWELL PROPERTIES, LLC, in one or more combinations, pursuant to 740 ILCS

                                                  130/2 et seq. to exercise reasonable care in maintaining the property free from hazards.

                                                         8.   At all relevant times herein. Defendant, ROCKWfELL PROPERTIES, LLC., in

                                                  one or more combinations, owed a duty of care to the Plaintiff, EDUARDO GUZMAN,

                                                  including the duty to keep itself informed of the condition of the premises and take

                                                  whatever safety precautions were necessary to protect against foreseeable injuries to

                                                  Plaintiff, including the duty to keep the elevated 2nd floor safe and without dangerous,

                                                  unmarked and unsecured openings in the floor.

                                                         9.   The Defendant, ROCKWELL PROPERTIES, LLC, in one or more

                                                  combinations, breached its duty of due care owed to Plaintiff, EDUARDO GUZMAN, in

                                                  one or more of the following respects:

                                                        (a)    Defendant, in one or more combinations, carelessly and negligently failed
                                                               to supervise, inspect and monitor the construction site in order to prevent


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                                                              and protect Plaintiff from falling through the unguarded opening in the
                                                              floor;
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                                            O           (b)   Defendant, in one or more combinations, carelessly and negligently failed
                                            £                 to supervise, inspect, monitor, and coordinate the work of the
                                            a                 subcontractors on the construction site in order to prevent and protect
                                            5
                                            0.                Plaintiff from falling through the unprotected opening in the floor;
                                            s
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                                                       (0     Defendant, in one or more combinations, carelessly and negligently
                                            s
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                                                              allowed the opening in the wood floor to remain open and unprotected
                                            lii               which Plaintiff fell through and sustained serious personal injuries;
                                            Q
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                                            =!         (d)    Defendant, in one or more combinations, carelessly and negligently failed
                                                              to warn and alert Plaintiff of the opening in the floor;

                                                       (e)    Defendant, in one or more combinations, carelessly and negligently
                                                              violated OSHA regulation §1926.500(b)(l) in failing to protect the floor
                                                              opening as required;

                                                       (f)    Defendant, in one or more combinations, carelessly and negligently
                                                              violated OSHA regulation §1926.503(a) by failing to train employees in
                                                              proper fall protection procedures to guard against falls;

                                                       (g)    Defendant, in one or more combinations, carelessly and negligently
                                                              violated OSHA Rule §926.56 by failing to provide adequate illumination
                                                              near the area of the opening in the 2nd floor that Plaintiff fell through;

                                                       (h)    Defendant, in one or more combinations, carelessly and negligently failed
                                                              to inspect or otherwise keep themselves informed of the condition of the
                                                              worksite and take necessary safety precautions to prevent the opening in
                                                              the floor from causing falls and to protect against foreseeable injuries,
                                                              including those to the Plaintiff herein;

                                                       (i)    Defendant, in one or more combinations, carelessly and negligently failed
                                                              to provide Plaintiff with a safe work place by allowing the opening in the
                                                              floor to remain unprotected and exposed Plaintiff to the risk of falling
                                                              through the opening; and

                                                       0)     Defendant, in one or more combinations, carelessly and negligently failed
                                                              to properly supervise the construction site and monitor work of its
                                                              subcontractors, and thereby allowed its subcontractors to engage in the
                                                              unsafe practice of not covering or guarding the unmarked opening in the



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                                                                 floor with appropriate protection which exposed Plaintiff to the risk of
                                                                 falling through the opening.
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                                            O            10.   As a direct and proximate result of one or more of the foregoing breaches,
                                            a     the Plaintiff, EDUARDO GUZMAN, was injured at the construction site. By reason
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                                            g     thereof. Plaintiff, EDUARDO GUZMAN, sustained multiple serious injuries; was
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                                            C!    hospitalized; required surgery; has suffered and will continue to suffer pain and mental
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                                                  anguish; has incurred and will incur in the future lost earnings; has been disabled and
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                                            =>    will continue to be disabled; has sustained the loss of a normal life; disfigurement; and
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                                                  has incurred and will continue to incur sums of money for medical treatment of said

                                                  injuries into the future.

                                                         WHEREFORE, Plaintiff, EDUARDO GUZMAN, prays for judgment against

                                                  ROCKWELL PROPERTIES, LLC, for an amount in excess of the jurisdictional amount

                                                  of FIFTY THOUSAND DOLLARS ($50,000.00), plus costs for this action and such

                                                  further relief as this Court deems just and proper.

                                                                              COUNT VI - Loss of Consortium
                                                                               Re: Plaintiff. KARLA AVINA

                                                         1-10. Plaintiff, KARLA AVINA, re-alleges paragraphs 1 through 10 of Count V,

                                                  as paragraphs 1 through 10 of COUNT VI herein.

                                                         11.   Plaintiff's spouse, KARLA AVINA, is and at all times mentioned in

                                                  COUNTS VII and VIII, was the lawful wedded wife of Plaintiff, EDUARDO GUZMAN,

                                                  and has continuously been living with, consorting and cohabiting with her husband.

                                                         12.   Because of said injuries to Plaintiff, EDUARDO GUZMAN, and as a direct

                                                  and proximate consequence of the negligent, wrongful and careless acts of Defendant,

                                                  ROCKWELL PROPERTIES, LLC., as aforesaid. Plaintiff, EDUARDO GUZMAN,




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                                                  became permanently damaged in and about his body and will remain so for the
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                                            Jo    duration of his life; and Plaintiff's wife, KARLA AVINA, has been and will continue to
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                                                  be caused to expend large sums of money for services which her husband could and
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                                            CL    would have performed for her, and has been and will continue to be otherwise greatly
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                                            o     injured, inconvenienced and harassed by means of the negligence and carelessness of
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                                            id    Defendant, ROCKWELL PROPERTIES, LLC, as aforesaid.
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                                                         WHEREFORE, Plaintiff, KARLA AVINA, prays for judgment against Defendant,
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                                                  ROCKWELL PROPERTIES, LLC, for an amount in excess of FIFTY THOUSAND

                                                  DOLLARS, ($50,000.00), plus costs for this action and such further relief as the Court

                                                  deems just and proper.

                                                                          COUNT VII - Construction Negligence
                                                                       vs. DAVID HUTH d/b/a H&H CONTRACTING

                                                         1.    On or about March 13, 2017, Defendant, DAVID HUTH, Individually and

                                                  d/b/a H&H CONTRACTING (hereinafter collectively referred to as H & H), was

                                                  engaged in general construction and floor removal work at a construction project

                                                  located at 3057 N. Rockwell Street, Chicago, Illinois.

                                                         2.   At all relevant times herein. Defendant, H&H, was one of the

                                                  subcontractors or was a contractor at the construction site.

                                                         3.   On or about March 13, 2017, the Plaintiff, EDUARDO GUZMAN, was an

                                                  employee of TDH MECHANICAL, INC. and was a lawful entrant upon the

                                                  construction site and a business invitee who was engaged in HVAC work on the

                                                  construction site.




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                                                         4.    That Defendant, H & H, as a subcontractor or contractor working at the
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                                            g     construction site owed a duty of care to Plaintiff not to injure him in the course of its
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                                            a     respective activities at the construction site.
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                                            o.           5.   That in the course of its activities on the construction site Defendant, H & H,
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                                            5     removed a portion of the 2nd floor creating an opening, which it did not mark, secure, or
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                                            lii   guard in any way.
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                                                         6.   That on March 13,2017 while Plaintiff, EDUARDO GUZMAN, was working
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                                                  at the above construction site he fell approximately 22 feet through the unguarded

                                                  opening in the 2nd floor created by Defendant, H & H.

                                                         7.   At all relevant times herein. Defendant, H & H, owed a duty of care to

                                                  Plaintiff, EDUARDO GUZMAN, including the duty to exercise reasonable care during

                                                  construction.

                                                         8.   At all relevant times herein, Defendant, H & H, owed a duty of care to

                                                  Plaintiff including the duty to guard against dangerous conditions on the worksite and

                                                  guard against foreseeable injuries to Plaintiff, EDUARDO GUZMAN, including the

                                                  duty to keep the elevated 2nd floor safe and without dangerous, unmarked, unsecured

                                                  openings which it created.

                                                        9.    That Defendant, H & H, breached its duty of care owed to Plaintiff,

                                                  EDUARDO GUZMAN, in one or more of the following respects:

                                                        (a)       Defendant carelessly and negligently cut an opening in the wooden floor
                                                                  on the 2nd floor and allowed said opening to remain unprotected, which
                                                                  plaintiff fell through and suffered serious personal injuries;

                                                        (b)       Defendant carelessly and negligently failed to warn and alert Plaintiff of
                                                                  the opening in the floor, which it created;




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                                                            (c)    Defendant carelessly and negligently violated OSHA               regulation
                                                                   §1926.500(b)(l) by failing to protect the opening as required;
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                                                            (d)    Defendant carelessly and negligently violated OSHA regulation
                                            pi                     §1926.503(a) by failing to properly train employees in fall protection
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                                                                   procedures to guard against falls;
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                                            a.
                                            g                      Defendant carelessly and negligently violated OSHA regulation §1926.56
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                                            o                      by failing to provide adequate illumination near the area of the opening in
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                                                                   the 2nd floor which the plaintiff fell through; find
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                                            o               (0     Defendant carelessly and negligently failed to properly supervise the
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                                                                   construction work its employees performed on the site and thereby
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                                                                   engaged in the unsafe practice of not guarding the unmarked opening
                                                                   with appropriate protection, which exposed Plaintiff to the risk of falling
                                                                   through said opening.
                                                            10.   As a direct and proximate result of one or more of the foregoing breaches,

                                                  the Plaintiff was injured at the construction site.          By reason thereof. Plaintiff,

                                                  EDUARDO GUZMAN, sustained multiple serious injuries; was hospitalized; required

                                                  surgery; has suffered and will continue to suffer pain and mental anguish; has incurred

                                                  and will incur in the future lost earnings; has been disabled and will continue to be

                                                  disabled; has sustained the loss of a normal life; disfigurement; and has incurred and

                                                  will continue to incur sums of money for medical treatment of said injuries into the

                                                  future.

                                                            WHEREFORE, Plaintiff, EDUARDO GUZMAN, prays for judgment against

                                                  Defendant, DAVID HUTH, Individually and d/b/a H & H CONTRACTING, for an

                                                  amount in excess of the jurisdictional amount of FIFTY THOUSAND DOLLARS

                                                  ($50,000.00), plus costs for this action and such further relief as this Court deems just

                                                  and proper.




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                                                                             COUNT VIII - Loss of Consortium
                                                                              Re: Plaintiff. KARLA AVINA
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                                            o            1-10. Plaintiff, KARLA AVINA, re-alleges paragraphs 1 through 10 of Count
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                                            <N    VII, as paragraphs 1 through 10 of COUNT VIII herein.
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                                            g            11.   Plaintiff's spouse, KARLA AVINA, is and at all times mentioned in
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                                            C!    COUNTS VII and VIII, was the lawful wedded wife of Plaintiff, EDUARDO GUZMAN,
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                                            lij   and has continuously been living with, consorting and cohabiting with her husband.
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                                            LLj          12.   Because of said injuries to Plaintiff, EDUARDO GUZMAN, and as a direct
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                                                  and proximate consequence of the negligent, wrongful and careless acts of Defendants,

                                                  DAVID HUTH, Individually and d/b/a H & H CONTRACTING, as aforesaid, Plaintiff,

                                                  EDUARDO GUZMAN, became permanently damaged in and about his body and will

                                                  remain so for the duration of his life; and Plaintiff's wife, KARLA AVINA, has been and

                                                  will continue to be caused to expend large sums of money for services which her

                                                  husband could and would have performed for her, and has been and will continue to be

                                                  otherwise greatly injured, inconvenienced and harassed by means of the negligence and

                                                  carelessness of Defendants, DAVID HUTH, Individually and d/b/a H & H

                                                  CONTRACTING, as aforesaid.

                                                         WHEREFORE,       Plaintiff,   KARLA      AVINA, prays for judgment against

                                                  Defendants, DAVID HUTH, Individually and d/b/a H & H CONTRACTING, for an

                                                  amount in excess of FIFTY THOUSAND DOLLARS, ($50,000.00), plus costs for this

                                                  action and such further relief as the Court deems just and proper.




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                                                                          COUNT IX - Construction Negligence
                                                                       vs. MICHAEL ROSEN and PATRICK ROSEN,
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                                                                      Individually and d/b/a ROSEN ARCHITECTURE
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                                            r--           I.    Plaintiff re-alleges Paragraphs 1 through 10 of Count VII as Paragraphs 1
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                                            5     through 10 of Count IX herein.
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                                                          II.    On or about March 13, 2017 and sometime prior thereto, Defendants,
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                                                  PATRICK ROSEN and MICHAEL ROSEN, Individually and d/b/a ROSEN
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                                                  ARCHITECTURE, (hereinafter coUectively referred to as ROSEN ARCHITECTURE), in
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                                            lZ    one or more combinations, was engaged in the designing, development, planning,

                                                  preservation, specified and oversaw the construction of the construction site located at

                                                  3057 N. Rockwell Street, Chicago, Illinois.

                                                          12.    That on March 13, 2017 and sometime prior thereto Defendants, ROSEN

                                                  ARCHITECTURE, in one or more combinations, undertook in their professional

                                                  capacity as an architecture firm to design and specify the construction and floor

                                                  removal of the construction site.

                                                          13.    That the existing building at the construction site was to be partially

                                                  reconstructed in accordance with Defendants', ROSEN ARCHITECTURE, designs and

                                                  specifications (herein plans).

                                                          14.    At all relevant times herein, Defendants, ROSEN ARCHITECTURE, in one

                                                  or more combinations, were the architects, designers, and planners of the construction

                                                  site.

                                                          15.    That the above-mentioned construction plans were used in the floor

                                                  removal and construction work at the construction site.




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                                                         16.    On or about March 13, 2017, Plaintiff, EDUARDO GUZMAN, was an
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                                                  employee of TDH Mechanical, Inc. and was a lawful entrant upon the construction site
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                                                  and a business invitee engaged in HVAC work on the construction site.
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                                                         17.    That Defendants, ROSEN ARCHITECTURE, in one or more combinations.
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                                            2     as architects, designers, and contractors on the site owed a duty of due care to the
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                                                  Plaintiff not injure him in connection with its work or services at the construction site.
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                                            Q            18.    At all relevant times herein Defendants, ROSEN ARCHITECTURE, in one
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                                                  or more combinations, owed a duty to the public and to Plaintiff to use the skill and

                                                  ordinary care used by reasonably well-qualified architects under similar circumstances

                                                  to those set forth herein.

                                                         19.    That Plaintiff, EDUARDO GUZMAN, while working at the construction

                                                  site on March 13, 2017 fell approximately twenty-two feet through an unguarded

                                                  opening in the 2nd floor thereby sustaining serious injuries.

                                                         20.    That Defendants, ROSEN ARCHITECTURE, in one or more combinations,

                                                  breached its duty of care to Plaintiff, EDUARDO GUZMAN, in one or more of the

                                                  following respects:

                                                         (a)    Defendants negligently omitted proper and adequate specifications in the
                                                                construction plans to require all general contractors, contractors, and
                                                                subcontractors to perform the floor removal and construction work in
                                                                accordance with recognized safety standards for such floor removal and
                                                                construction work;

                                                         (b)    Defendants negligently and carelessly failed to advise the owners,
                                                                occupier or contractors to include such specifications in the plans and to
                                                                require all general contractors, contractors, and subcontractors to perform
                                                                their floor removal and construction work in accordance with such
                                                                recognized floor removal and construction safety standards;




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                                                            (C)    Defendants negligently failed to properly and adequately specify in the
                                                                   construction plans recognized safety standards for the floor removal work
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                                            £                      of the construction site;
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                                            5               (d)    Defendants undertook to plan and specify the floor removal portion of the
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                                                                   construction work in their plans but negligently and carelessly failed to
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                                                                   properly and adequately design and specify such work;
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                                            o               (e)    Defendants undertook to prepare the construction plans in accordance
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                                                                   with the municipal code of the City of Chicago but negligently failed to
                                            lii                    meet all applicable federal, state, and local standards as required by such
                                                                   municipal code; and
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                                            Li.
                                                            (f)    Defendants failed to monitor the floor removal to ensure it was performed
                                                                   in accordance with their plans and specifications.

                                                            21.   As a direct and proximate result of one or more of the foregoing breaches,

                                                  the Plaintiff was injured at the construction site.          By reason thereof, Plaintiff,

                                                  EDUARDO GUZMAN, sustained multiple serious injuries; was hospitalized; required

                                                  surgery; has suffered and will continue to suffer pain and mental anguish; has incurred

                                                  and will incur in the future lost earnings; has been disabled and will continue to be

                                                  disabled; has sustained the loss of a normal life; disfigurement; and has incurred and

                                                  will continue to incur sums of money for medical treatment of said injuries into the

                                                  future.

                                                            WHEREFORE, Plaintiff, EDUARDO GUZMAN, prays for judgment against

                                                  Defendant, PATRICK ROSEN and MICHAEL ROSEN, Individually and d/b/a ROSEN

                                                  ARCHITECTURE, jointly and severally, for an amount in excess of the jurisdictional

                                                  amount of FIFTY THOUSAND DOLLARS ($50,000.00), plus costs for this action and

                                                  such further relief as this Court deems just and proper.




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                                                                              COUNT X - Loss of Consortium
                                                                               Re: Plaintiff, KARLA AVINA
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                                            O            1-21. Plaintiff, KARLA AVINA, re-alleges paragraphs 1 through 21 of Count IX,
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                                            8     as paragraphs 1 through 21 of COUNT X herein.
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                                            S            22.    Plaintiff's spouse, KARLA AVINA, is and at all times mentioned in
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                                                  COUNTS I and II, was the lawful wedded wife of Plaintiff, EDUARDO GUZMAN, and
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                                                  has continuously been living with, consorting and cohabiting with her husband.
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                                                         23.    Because of said injuries to Plaintiff, EDUARDO GUZMAN, and as a direct
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                                                  and proximate consequence of the negUgent, wrongful and careless acts of Defendant,

                                                  PATRICK ROSEN and MICHAEL ROSEN, Individually and d/b/a ROSEN

                                                  ARCHITECTURE, as aforesaid, Plaintiff, EDUARDO GUZMAN, became permanently

                                                  damaged in and about his body and will remain so for the duration of his life; and

                                                  Plaintiff's wife, KARLA AVINA, has been and will continue to be caused to expend

                                                  large sums of money for services which her husband could and would have performed

                                                  for her, and has been and will continue to be otherwise greatly injured, inconvenienced

                                                  and harassed by means of the negligence and carelessness of Defendants, PATRICK

                                                  ROSEN and MICHAEL ROSEN, Individually and d/b/a ROSEN ARCHITECTURE, as

                                                  aforesaid.

                                                         WHEREFORE,       Plaintiff,   KARLA        AVINA, prays for judgment against

                                                  Defendants, PATRICK ROSEN and MICHAEL ROSEN, Individually and d/b/a

                                                  ROSEN ARCHITECTURE, for an amount in excess of FIFTY THOUSAND DOLLARS,

                                                  ($50,000.00), plus costs for this action and such further relief as the Court deems just

                                                  and proper.




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                                                                         COUNT XI - Construction Negligence
                                                                          vs. HIGHLAND ENGINEERING, P.C.
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                                                        1-10. Plaintiff re-alleges Paragraphs 1 through 10 of Count IX as Paragraphs 1
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                                                 through 10 of Count XI herein.
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                                            <N          11.   On or about March 13, 2017 and sometime prior thereto. Defendant,
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                                            5!   HIGHLAND        ENGINEERING          P.C.,   (hereinafter
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                                                                                                             referred   to   as   HIGHLAND
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                                            <    ENGINEERING) was engaged in providing structural engineering services for the
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                                                 construction site located at 3057 N. Rockwell Street, Chicago, Illinois.

                                                        12.   That on March 13, 2017 and sometime prior thereto Defendant,

                                                 HIGHLAND ENGINEERING, undertook it its professional capacity as a structural

                                                 engineering firm to provide structural services to design and specify the construction

                                                 and floor removal of the construction site.

                                                        13.   That the existing building at the construction site was to be partially

                                                 reconstructed in accordance with Defendant's, HIGHLAND ENGINEERING, designs

                                                 and specifications (herein plans).

                                                        14.   At all relevant times herein. Defendant, HIGHLAND ENGINEERING, was.

                                                 in one or more combinations, the structural and architectural engineer, designer,

                                                 planner, and contractor of the construction site.

                                                        15.   The above-mentioned construction plans were used in the floor removal

                                                 and construction work at the construction site.

                                                        16.   On or about March 13, 2017, Plaintiff, EDUARDO GUZMAN, was an

                                                 employee of TDH Mechanical, Inc. and was a lawful entrant upon the construction site

                                                 and a business invitee engaged in HVAC work on the construction site.




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                                                          17. That    Defendant,     HIGHLAND        ENGINEERING,        in   one    or     more
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                                            g£    combinations, as architectural engineer, designer, planner and contractor on the site
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                                            5     owed a duty of due care to the Plaintiff, EDUARDO GUZMAN, not to injure him in
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                                                  connection with its work or services at the construction site.
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                                                         18.   At all relevant times herein Defendant, HIGHLAND ENGINEERING, owed
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                                            Hi    a duty to the public and to Plaintiff, EDUARDO GUZMAN, to use the skill and
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                                                  ordinary care used by reasonably well-qualified structural and architectural engineers
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                                                  under similar circumstances to those set forth herein.

                                                         19.   That Plaintiff, EDUARDO GUZMAN, while working at the construction site

                                                  on March 13, 2017 fell approximately twenty-two feet through an unguarded opening

                                                  in the 2nd floor thereby sustaining serious injuries.

                                                         20. That Defendant, HIGHLAND ENGINEERING, in one or more combina­

                                                  tions, breached its duty of care to Plaintiff in one or more of the following respects:

                                                         (a)    Defendant negligently omitted proper and adequate specifications in the
                                                                construction plans to require all general contractors, contractors, and
                                                                subcontractors to perform the floor removal and construction work in
                                                                accordance with recognized safety standards for such floor removal and
                                                                construction work;

                                                         (b)    Defendant negligently and carelessly failed to advise the owners, occupier
                                                                or contractors to include such specifications in the plans and to require all
                                                                general contractors, contractors, and subcontractors to perform their floor
                                                                removal and construction work in accordance with such recognized floor
                                                                removal and construction safety standards;

                                                         (c)    Defendant negligently failed to properly and adequately specify in the
                                                                construction plans recognized safety standards for the floor removal work
                                                                of the construction site;




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                                                            (d)    Defendant undertook to plan and specify the floor removal portion of the
                                                                   construction work in their plans but negligently and carelessly failed to
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                                            £                      properly and adequately design and specify such work;
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                                            5               (e)    Defendant undertook to prepare the construction plans in accordance
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                                                                   with the municipal code of the City of Chicago but negligently failed to
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                                            CL                     meet all applicable federal, state, and local standards as required by such
                                            S                      municipal code; and
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                                                            (f)    Defendant failed to monitor the floor removal to ensure it was performed
                                            lii                    in accordance with their plans and specifications.
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                                                            21.   As a direct and proximate result of one or more of the foregoing breaches,
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                                                  the Plaintiff was injured at the construction site.          By reason thereof. Plaintiff,
                                                  EDUARDO GUZMAN, sustained multiple serious injuries; was hospitalized; required

                                                  surgery; has suffered and will continue to suffer pain and mental anguish; has incurred

                                                  and will incur in the future lost earnings; has been disabled and will continue to be

                                                  disabled; has sustained the loss of a normal life; disfigurement; and has incurred and

                                                  will continue to incur sums of money for medical treatment of said injuries into the

                                                  future.

                                                            WHEREFORE, Plaintiff, EDUARDO GUZMAN, prays for judgment against

                                                  Defendant, HIGHLAND ENGINEERING P.C., for an amount in excess of the

                                                  jurisdictional amount of FIFTY THOUSAND DOLLARS ($50,000.00), plus costs for this

                                                  action and such further relief as this Court deems just and proper.




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                                                                           COUNT XII - Loss of Consortium
                                                                             Re: Plaintiff, KARLA AVINA
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                                            O            1-21. Plaintiff, KARLA AVINA, re-alleges paragraphs 1 through 21 of Count IX,
                                            8     as paragraphs 1 through 21 of COUNT X herein.
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                                            8            22.   Plaintiff's spouse, KARLA AVINA, is and at all times mentioned in
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                                            o     COUNTS I and II, was the lawful wedded wife of Plaintiff, EDUARDO GUZMAN, and
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                                            lii   has continuously been living with, consorting and cohabiting with her husband.
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                                            LLJ          23.   Because of said injuries to Plaintiff, EDUARDO GUZMAN, and as a direct
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                                                  and proximate consequence of the negligent, wrongful and careless acts of Defendant,

                                                  HIGHLAND ENGINEERING P.C., as aforesaid. Plaintiff, EDUARDO GUZMAN,

                                                  became permanently damaged in and about his body and will remain so for the

                                                  duration of his life; and Plaintiff's wife, KARLA AVINA, has been and will continue to

                                                  be caused to expend large sums of money for services which her husband could and

                                                  would have performed for her, and has been and will continue to be otherwise greatly

                                                  injured, inconvenienced and harassed by means of the negligence and carelessness of

                                                  Defendants, HIGHLAND ENGINEERING P.C., as aforesaid.

                                                        WHEREFORE,       Plaintiff,   KARLA     AVINA,   prays for judgment against

                                                  Defendants, HIGHLAND ENGINEERING P.C., for an amount in excess of FIFTY

                                                  THOUSAND DOLLARS, ($50,000.00), plus costs for this action and such further relief

                                                  as the Court deems just and proper.




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                                                                    Columbia - Scottsdale/Westfield 000172
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                                                                           COUNT XIII - Construction Negligence
                                                                                vs. EPIC BUILDERS. INC.
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                                                         1-10. Plaintiff re-alleges Paragraphs 1 through 10 of Count IX as Paragraphs 1
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                                                  through 10 of Count XI herein.
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                                            8            11.      On or about March 13, 2017 and sometime prior thereto. Defendant, EPIC
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                                            0)    BUILDERS, INC. managed, maintained, controlled, and oversaw the construction work
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                                            <C    at the construction site located at 3057 N. Rockwell Street, Chicago, Illinois.
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                                            E            12.      That on March 13, 2017 and sometime prior thereto Defendant, EPIC

                                                  BUILDERS, INC., undertook it its professional capacity to oversee the floor removal

                                                  and stair construction on the construction site.

                                                         13.   That the existing building at the construction site was to be partially

                                                  reconstructed in accordance with the designs and specifications (herein plans).

                                                         14. On or about March 13, 2017, Plaintiff, EDUARDO GUZMAN, was an

                                                  employee of TDH Mechanical, Inc. and was a lawful entrant upon the construction site

                                                  and a business invitee engaged in HVAC work on the construction site.

                                                         15. That Defendant, EPIC BUILDERS, INC., as the construction manager that

                                                  oversaw the floor removal and stair construction on at the construction site, owed a

                                                  duty of due care to the Plaintiff, EDUARDO GUZMAN, not to injure him in connection

                                                  with its work or services at the construction site.

                                                         16.   At all relevant times herein Defendant, EPIC BUILDERS, INC., owed a duty

                                                  to the public and to Plaintiff, EDUARDO GUZMAN, to use the skill and ordinary care

                                                  used by reasonably well-qualified constractor under similar circumstances to those set

                                                  forth herein.




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                                                                       Columbia - Scottsdale/Westfield 000173
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                                                         17.    That Plaintiff, EDUARDO GUZMAN, while working at the construction site
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                                                  on March 13, 2017 fell approximately twenty-two feet through an unguarded opening
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                                                  in the 2nd floor thereby sustaining serious injuries.
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                                            0.           18.    That Defendant, EPIC BUILDERS, INC., in one or more combinations,
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                                            5     breached its duty of care to Plaintiff in one or more of the following respects:
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                                            ui           (a)       Defendants, in one or more combinations, carelessly and negligently
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                                            Q                  failed to supervise, inspect and monitor the construction site in order to
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                                                               prevent and protect Plaintiff from falling through the unguarded opening in
                                            li.
                                                               the floor;

                                                         (b)      Defendants, in one or more combinations, carelessly and negligently
                                                                  failed to supervise, inspect, monitor, and coordinate the work of the
                                                                  subcontractors on the construction site in order to prevent and protect
                                                                  Plaintiff from falling through the unprotected opening in the floor;

                                                         (c)      Defendants, in one or more combinations, carelessly and negligently
                                                                  allowed the opening in the wood floor to remain open and unprotected
                                                                  which Plaintiff fell through and sustained serious personal injuries;

                                                         (d)     Defendants, in one or more combinations, carelessly and negligently
                                                                 failed to warn and alert Plaintiff of the opening in the floor;

                                                        (e)      Defendants, in one or more combinations, carelessly and negligently
                                                                 violated OSHA regulation §1926.500(b)(l) in failing to protect the floor
                                                                 opening as required;

                                                        (0       Defendants, in one or more combinations, carelessly and negligently
                                                                 violated OSHA regulation §1926.503(a) by failing to train employees in
                                                                 proper fall protection procedures to guard against falls;

                                                        (g)      Defendants, in one or more combinations, carelessly and negligently
                                                                 violated OSHA Rule §926.56 by failing to provide adequate illumination
                                                                 near the area of the opening in the 2nd floor that Plaintiff fell through;

                                                        (h)      Defendants, in one or more combinations, carelessly and negligently
                                                                 failed to inspect or otherwise keep themselves informed of the condition
                                                                 of the worksite and take necessary safety precautions to prevent the



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                                                                   opening in the floor from causing falls and to protect against foreseeable
                                                                   injuries, including those to the Plaintiff herein;
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                                            O               (i)    Defendants, in one or more combinations, carelessly and negligently
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                                                                   failed to provide Plaintiff with a safe work place by allowing the opening
                                                                   in the floor to remain unprotected and exposed Plaintiff to the risk of
                                                                   falling through the opening; and
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                                                            0)     Defendants, in one or more combinations, carelessly and negligently
                                            ss                     failed to properly supervise the construction site and monitor work of its
                                            tii                    subcontractors, and thereby allowed its subcontractors to engage in the
                                                                   unsafe practice of not covering or guarding the unmarked opening in the
                                                                   floor with appropriate protection which exposed Plaintiff to the risk of
                                            =!
                                                                   falling through the opening.

                                                            19.   As a direct and proximate result of one or more of the foregoing breaches,

                                                  the Plaintiff was injured at the construction site.         By reason thereof. Plaintiff,

                                                  EDUARDO GUZMAN, sustained multiple serious injuries; was hospitalized; required

                                                  surgery; has suffered and will continue to suffer pain and mental anguish; has incurred

                                                  and will incur in the future lost earnings; has been disabled and will continue to be

                                                  disabled; has sustained the loss of a normal life; disfigurement; and has incurred and

                                                  will continue to incur sums of money for medical treatment of said injuries into the

                                                  future.

                                                            WHEREFORE, Plaintiff, EDUARDO GUZMAN, prays for judgment against

                                                  Defendant, EPIC BUILDERS, INC., for an amount in excess of the jurisdictional amount

                                                  of FIFTY THOUSAND DOLLARS ($50,000.00), plus costs for this action and such

                                                  further relief as this Court deems just and proper.




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                                                                        Columbia - Scottsdale/Westfield 000175
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                                                                           COUNT XIV - Loss of Consortium
                                                                             Re: Plaintiff KARLA AVINA
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                                            O            20.     Plaintiff, KARLA AVINA, re-alleges paragraphs 1 through 19 of Count
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                                            CN    XIII, as paragraphs 1 through 21 of Count XIV herein.
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                                            g            22.    Plaintiff's spouse, KARLA AVINA, is and at all times mentioned in
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                                            a     Counts XIII through XIV was the lawful wedded wife of Plaintiff, EDUARDO
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                                            lii   GUZMAN, and has continuously been living with, consorting and cohabiting with her
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                                            d
                                                  husband.
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                                                         23.    Because of said injuries to Plaintiff, EDUARDO GUZMAN, and as a direct

                                                  and proximate consequence of the negligent, wrongful and careless acts of all of the

                                                  Defendants, as aforesaid, Plaintiff, EDUARDO GUZMAN, became permanently

                                                  damaged in and about his body and will remain so for the duration of his life; and

                                                  Plaintiff's wife, KARLA AVINA, has been and will continue to be caused to expend

                                                  large sums of money for services which her husband could and would have performed

                                                  for her, and has been and will continue to be otherwise greatly injured, inconvenienced

                                                  and harassed by means of the negligence and carelessness of all of the Defendants, as

                                                  aforesaid.

                                                         WHEREFORE, Plaintiff, KARLA AVINA, prays for judgment against Defendant,

                                                  EPIC BUILDERS, INC., for an amount in excess of FIFTY THOUSAND DOLLARS,

                                                  ($50,000.00), plus costs for this action and such further relief as the Court deems just

                                                  and proper.




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                                                                    Columbia - Scottsdale/Westfield 000176
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                                                                         COUNT XV - Construction Negligence
                                                                   vs. NORTH SHORE BRICKWORK & WINDOWS, INC.
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                                                          1-10. Plaintiff re-alleges Paragraphs 1 through 10 of Count XIII as Paragraphs 1
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                                            s     through 10 of Count XV herein.
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                                            fvi           11.   On or about March 13, 2017 and sometime prior thereto, Defendant,
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                                            £     NORTH SHORE BRICKWORK & WINDOWS, INC. was engaged in masonry work for
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                                                  the construction site located at 3057 N. Rockwell Street, Chicago, Illinois.
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                                            LU
                                            d
                                            u.           12.    That on March 13, 2017 and sometime prior thereto Defendant, NORTH

                                                  SHORE BRICKWORK & WINDOWS, INC., undertook it its professional capacity as a

                                                  masonry contractor to remove and replace bricks in the area of a hole in the walking

                                                  surface of the second floor at the construction site.

                                                         13.    That on March 13, 2017 and sometime prior thereto Defendant, NORTH

                                                  SHORE BRICKWORK & WINDOWS, INC., undertook in its professional capacity as a

                                                  masonry contractor to lay down sheets of plywood on the ground in and around the

                                                  hole in the walking surface of the second floor at the construction site.

                                                         14.    On or about March 13, 2017, Plaintiff, EDUARDO GUZMAN, was an

                                                  employee of TDH Mechanical, Inc. and was a lawful entrant upon the construction site

                                                  and a business invitee engaged in HVAC work on the construction site.

                                                         15.    That Defendant, NORTH SHORE BRICKWORK & WINDOWS, INC., owed

                                                  a duty of due care to the Plaintiff, EDUARDO GUZMAN, not to injure him in

                                                  connection with its work or services at the construction site.

                                                         16.    At all relevant times herein Defendant, NORTH SHORE BRICKWORK &

                                                  WINDOWS, INC., owed a duty to the public and to Plaintiff, EDUARDO GUZMAN, to




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                                                  use the skill and ordinary care used by reasonably well-qualified contractor under
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                                            z     similar circumstances to those set forth herein.
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                                                         17. That Plaintiff, EDUARDO GUZMAN, while working at the construction site
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                                            0_    on March 13, 2017 fell approximately twenty-two feet through an unguarded opening
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                                                  in the 2nd floor thereby sustaining serious injuries.
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                                                         18. That Defendant, NORTH SHORE BRICKWORK & WINDOWS, INC., in one

                                                  or more combinations, breached its duty of care to Plaintiff in one or more of the
                                            d
                                                  following respects:

                                                         (a)    Defendants, in one or more combinations, carelessly and negligently
                                                                failed to supervise, inspect and monitor the construction site in order to
                                                                prevent and protect Plaintiff from falling through the unguarded opening
                                                                in the floor;

                                                         (b)    Defendants, in one or more combinations, carelessly and negligently
                                                                failed to supervise, inspect, monitor, and coordinate the work of the
                                                                subcontractors on the construction site in order to prevent and protect
                                                                Plaintiff from falling through the unprotected opening in the floor;

                                                         (c)    Defendants, in one or more combinations, carelessly and negligently
                                                                allowed the opening in the wood floor to remain open and unprotected
                                                                which Plaintiff fell through and sustained serious personal injuries;

                                                        (d)     Defendants, in one or more combinations, carelessly and negligently
                                                                failed to warn and alert Plaintiff of the opening in the floor;

                                                        (e)     Defendants, in one or more combinations, carelessly and negligently
                                                                violated OSHA regulation §1926.500(b)(l) in failing to protect the floor
                                                                opening as required;

                                                        (f)    Defendants, in one or more combinations, carelessly and negligently
                                                               violated OSHA regulation §1926.503(a) by failing to train employees in
                                                               proper fall protection procedures to guard against falls;




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                                                        (g)   Defendants, in one or more combinations, carelessly and negligently
                                                              violated OSHA Rule §926.56 by failing to provide adequate illumination
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                                                              near the area of the opening in the 2nd floor that Plaintiff fell through;
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                                            5           (h)   Defendants, in one or more combinations, carelessly and negligently
                                                              failed to inspect or otherwise keep themselves informed of the condition
                                            CL                of the worksite and take necessary safety precautions to prevent the
                                            S                 opening in the floor from causing falls and to protect against foreseeable
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                                                              injuries, including those to the Plaintiff herein;
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                                            CO
                                            lii         (i)   Defendants, in one or more combinations, carelessly and negligently
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                                                              failed to provide Plaintiff with a safe work place by allowing the opening
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                                                              in the floor to remain unprotected and exposed Plaintiff to the risk of
                                                              falling through the opening; and

                                                        (j)   Defendants, in one or more combinations, carelessly and negligently
                                                              failed to properly supervise the construction site and monitor work of its
                                                              subcontractors, and thereby allowed its subcontractors to engage in the
                                                              unsafe practice of not covering or guarding the unmarked opening in the
                                                              floor with appropriate protection which exposed Plaintiff to the risk of
                                                              falling through the opening.


                                                       (k)    Defendants carelessly and negligently failed to remove any and all pieces
                                                              of plywood from the floor on the second floor of the construction site.


                                                       (1)    Defendants carelessly and negligently failed to warn Plaintiff that there
                                                              was a piece of plywood on the floor of the second floor in and around the
                                                              area where the hole in the walking surface was located.


                                                       19.    As a direct and proximate result of one or more of the foregoing breaches,
                                                              the Plaintiff was injured at the construction site. By reason thereof.
                                                              Plaintiff, EDUARDO GUZMAN, sustained multiple serious injuries; was
                                                              hospitalized; required surgery; has suffered and will continue to suffer
                                                              pain and mental anguish; has incurred and will incur in the future lost
                                                              earnings; has been disabled and will continue to be disabled; has
                                                              sustained the loss of a normal life; disfigurement; and has incurred and
                                                              will continue to incur sums of money for medical treatment of said
                                                              injuries into the future.




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                                                         WHEREFORE, Plaintiff, EDUARDO GUZMAN, prays for judgment against
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                                                  Defendant, NORTH SHORE BRICKWORK & WINDOWS, INC., for an amount in
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                                                  excess of the jurisdictional amount of FIFTY THOUSAND DOLLARS ($50,000.00), plus
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                                            0-    costs for this action and such further relief as this Court deems just and proper.
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                                            CO                              COUNT XVI - Loss of Consortium
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                                            lii                               Re: Plaintiff. KARLA AVINA
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                                            IU           20.     Plaintiff, KARLA AVINA, re-alleges paragraphs 1 through 19 of Count
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                                                  XV, as paragraphs 1 through 19 of Count XVI herein.

                                                         22.    Plaintiff's spouse, KARLA AVINA, is and at all times mentioned in

                                                  Counts III through VIII was the lawful wedded wife of Plaintiff, EDUARDO GUZMAN,

                                                  and has continuously been living with, consorting and cohabiting with her husband.

                                                         23.    Because of said injuries to Plaintiff, EDUARDO GUZMAN, and as a direct

                                                  and proximate consequence of the negligent, wrongful and careless acts of all of the

                                                  Defendants, as aforesaid. Plaintiff, EDUARDO GUZMAN, became permanently

                                                  damaged in and about his body and will remain so for the duration of his life; and

                                                  Plaintiff's wife, KARLA AVINA, has been and will continue to be caused to expend

                                                  large sums of money for services which her husband could and would have performed

                                                  for her, and has been and will continue to be otherwise greatly injured, inconvenienced

                                                  and harassed by means of the negligence and carelessness of all of the Defendants, as

                                                  aforesaid.

                                                         WHEREFORE, Plaintiff, KARLA AVINA, prays for judgment against Defendant,

                                                  NORTH SHORE BRICKWORK & WINDOWS, INC., for an amount in excess of FIFTY




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                                                  THOUSAND DOLLARS, ($50,000.00), plus costs for this action and such further relief
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                                            g     as the Court deems just and proper.
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                                            5                            COUNT XVII - Construction Negligence
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                                            §                               vs. HERA CONSTRUCTION. INC.
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                                            CO           1-10. Plaintiff re-alleges Paragraphs 1 through 10 of Count XIII as Paragraphs 1
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                                                  through 10 of Count XV herein.
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                                            E            11.   On or about March 13, 2017 and sometime prior thereto. Defendant, HERA

                                                  CONSTRUCTION, INC. was engaged in masonry work for the construction site located

                                                  at 3057 N. Rockwell Street, Chicago, Illinois.

                                                         12.   That on March 13, 2017 and sometime prior thereto Defendant, HERA

                                                  CONSTRUCTION, INC., undertook it its professional capacity as a masonry contractor

                                                  to remove and replace bricks in the area of a hole in the walking surface of the second

                                                  floor at the construction site.

                                                         13. That on March 13, 2017 and sometime prior thereto Defendant, HERA

                                                  CONSTRUCTION, INC., undertook in its professional capacity as              a masonry
                                                  contractor to lay down sheets of plywood on the ground in and around the hole in the

                                                  walking surface of the second floor at the construction site.

                                                         14.   On or about March 13, 2017, Plaintiff, EDUARDO GUZMAN, was an

                                                  employee of TDH Mechanical, Inc. and was a lawful entrant upon the construction site

                                                  and a business invitee engaged in HVAC work on the construction site.

                                                         15. That Defendant, HERA CONSTRUCTION, INC., owed a duty of due care to

                                                  the Plaintiff, EDUARDO GUZMAN, not to injure him in connection with its work or

                                                  services at the construction site.



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                                                         16.   At all relevant times herein Defendant, HERA CONSTRUCTION, INC.,
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                                            5     owed a duty to the public and to Plaintiff, EDUARDO GUZMAN, to use the skill and
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                                                  ordinary care used by reasonably well-qualified contractor under similar circumstances
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                                            0.    to those set forth herein.
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                                            5            17. That Plaintiff, EDUARDO GUZMAN, while working at the construction site
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                                                  on March 13, 2017 fell approximately twenty-two feet through an unguarded opening
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                                            a     in the 2nd floor thereby sustaining serious injuries.
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                                                         18. That Defendant, HERA CONSTRUCTION, INC., in one or more

                                                  combinations, breached its duty of care to Plaintiff in one or more of the following

                                                  respects:

                                                         (a)    Defendants, in one or more combinations, carelessly and negligently
                                                                failed to supervise, inspect and monitor the construction site in order to
                                                                prevent and protect Plaintiff from falling through the unguarded opening
                                                                in the floor;

                                                         (b)    Defendants, in one or more combinations, carelessly and negligently
                                                                failed to supervise, inspect, monitor, and coordinate the work of the
                                                                subcontractors on the construction site in order to prevent and protect
                                                                Plaintiff from falling through the unprotected opening in the floor;

                                                         (c)    Defendants, in one or more combinations, carelessly and negligently
                                                                allowed the opening in the wood floor to remain open and unprotected
                                                                which Plaintiff fell through and sustained serious personal injuries;

                                                        (d)     Defendants, in one or more combinations, carelessly and negligently
                                                                failed to warn and alert Plaintiff of the opening in the floor;

                                                        (e)    Defendants, in one or more combinations, carelessly and negligently
                                                               violated OSHA regulation §1926.500(b)(l) in failing to protect the floor
                                                               opening as required;

                                                        (f)    Defendants, in one or more combinations, carelessly and negligently
                                                               violated OSHA regulation §1926.503(a) by failing to train employees in
                                                               proper fall protection procedures to guard against falls;


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                                                        (g)   Defendants, in one or more combinations, carelessly and negligently
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                                            In                violated OSHA Rule §926.56 by failing to provide adequate illumination
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                                            o                 near the area of the opening in the 2nd floor that Plaintiff fell through;
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                                            CM
                                                        (h)   Defendants, in one or more combinations, carelessly and negligently
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                                            Q-                failed to inspect or otherwise keep themselves informed of the condition
                                            S                 of the worksite and take necessary safety precautions to prevent the
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                                            o                 opening in the floor from causing falls and to protect against foreseeable
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                                            CO
                                                              injuries, including those to the Plaintiff herein;
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                                            o           (i)   Defendants, in one or more combinations, carelessly and negligently
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                                                              failed to provide Plaintiff with a safe work place by allowing the opening
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                                                              in the floor to remain unprotected and exposed Plaintiff to the risk of
                                                              falling through the opening; and

                                                        (j)   Defendants, in one or more combinations, carelessly and negligently
                                                              failed to properly supervise the construction site and monitor work of its
                                                              subcontractors, and thereby allowed its subcontractors to engage in the
                                                              unsafe practice of not covering or guarding the unmarked opening in the
                                                              floor with appropriate protection which exposed Plaintiff to the risk of
                                                              falling through the opening.


                                                        (k)   Defendants carelessly and negligently failed to remove any and all pieces
                                                              of plywood from the floor on the second floor of the construction site.


                                                       (1)    Defendants carelessly and negligently failed to warn Plaintiff that there
                                                              was a piece of plywood on the floor of the second floor in and around the
                                                              area where the hole in the walking surface was located.


                                                       19.    As a direct and proximate result of one or more of the foregoing breaches,
                                                              the Plaintiff was injured at the construction site. By reason thereof,
                                                              Plaintiff, EDUARDO GUZMAN, sustained multiple serious injuries; was
                                                              hospitalized; required surgery; has suffered and will continue to suffer
                                                              pain and mental anguish; has incurred and will incur in the future lost
                                                              earnings; has been disabled and will continue to be disabled; has
                                                              sustained the loss of a normal life; disfigurement; and has incurred and
                                                              will continue to incur sums of money for medical treatment of said
                                                              injuries into the future.




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                                                          WHEREFORE, Plaintiff, EDUARDO GUZMAN, prays for judgment against
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                                            m     Defendant, HERA CONSTRUCTION, INC., for an amount in excess of the jurisdictional
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                                                  amount of FIFTY THOUSAND DOLLARS ($50,000.00), plus costs for this action and
                                            2
                                            CL    such further relief as this Court deems just and proper.
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                                            CO                             COUNT XVIII - Loss of Consortium
                                            CO
                                            LU                               Re: Plaintiff. KARLA AVINA
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                                            o            20.       Plaintiff, KARLA AVINA, re-alleges paragraphs 1 through 19 of Count
                                            LU
                                            d
                                            Ll_

                                                  XV, as paragraphs 1 through 19 of Count XVI herein.

                                                               24. Plaintiff's spouse, KARLA AVINA, is and at all times mentioned in

                                                                 Counts III through VIII was the lawful wedded wife of Plaintiff,

                                                                 EDUARDO GUZMAN, and has continuously been living with, consorting

                                                                 and cohabiting with her husband.

                                                         25.     Because of said injuries to Plaintiff, EDUARDO GUZMAN, and as a direct

                                                  and proximate consequence of the negHgent, wrongful and careless acts of all of the

                                                  Defendants, as aforesaid. Plaintiff, EDUARDO GUZMAN, became permanently

                                                  damaged in and about his body and will remain so for the duration of his life; and

                                                  Plaintiff's wife, KARLA AVINA, has been and will continue to be caused to expend

                                                  large sums of money for services which her husband could and would have performed

                                                  for her, and has been and will continue to be otherwise greatly injured, inconvenienced

                                                  and harassed by means of the negligence and carelessness of all of the Defendants, as

                                                  aforesaid.

                                                        WHEREFORE, Plaintiff, KARLA AVINA, prays for judgment against Defendant,

                                                  HERA CONSTRUCTION, INC., for an amount in excess of FIFTY THOUSAND



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                                                  DOLLARS, ($50,000.00), plus costs for this action and such further relief as the Court
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                                                                                                 One of Plaiimff's Attorneys
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                                                                                                     Attorney No. 49077
                                                           IN THE CIRCUIT COURT OF COOK COUNTY, ILLINOIS
                                                                 COUNTY DEPARTMENT, LAW DIVISION                FILED
                                            EDUARDO GUZMAN and KARLA AVINA,     )                                             3/29/2019 4:17 PM
                                                                                )
FILED DATE: 3/29/2019 4:17 PM 2017L003510




                                                                                                                              DOROTHY BROWN
                                                       Plaintiffs,              )                                             CIRCUIT CLERK
                                                                                )    No. 17 L 003510                          COOK COUNTY, IL
                                                  vs.                           )                                                2017L003510
                                                                                )
                                            PRAIRIE MANAGEMENT & DEVELOPMENT, )
                                            INC.,                               )
                                                                                )
                                                       Defendant,               )
                                                                     NOTICE OF FILING

                                             TO:    See attached Service List

                                                    PLEASE TAKE NOTICE that on this date we have electronically filed with the Clerk of
                                            the Circuit Court of Cook County, the attached documents:

                                               •   PRAIRIE MANAGEMENT & DEVELOPMENT, INC. AND ROCKWELL
                                                   PROPERTIES, INC.’S ANSWER TO EPIC BUILDERS, INC.’S CROSS-CLAIM FOR
                                                   CONTRIUBTION;
                                               •   PRAIRIE MANAGEMENT & DEVELOPMENT, INC. AND ROCKWELL
                                                   PROPERTIES, INC.’S ANSWER TO NORTH SHORE BRICKWORK AND
                                                   WINDOWS, INC.’S CROSS-CLAIM FOR CONTRIUBTION;
                                               •   PRAIRIE MANAGEMENT & DEVELOPMENT, INC. AND ROCKWELL
                                                   PROPERTIES, INC.’S ANSWER TO DAVID HUTH and H&H CONTRACTING’S
                                                   AMENDED CROSS-CLAIM FOR CONTRIUBTION;
                                               •   PRAIRIE MANAGEMENT & DEVELOPMENT, INC. AND ROCKWELL
                                                   PROPERTIES, INC.’S ANSWER TO COUNTER-PLAINTIFF PATRICK ROSEN AND
                                                   ROSEN ARCHITECTURE’S AMENDED CROSS-CLAIM FOR CONTRIBTION;
                                               •   PRAIRIE MANAGEMENT & DEVELOPMENT, INC. AND ROCKWELL
                                                   PROPERTIES, INC.’S THIRD PARTY COMPLAINT AGAINST TDH MECHANICAL
                                                   INC. FOR INDEMINFICATION AND BREACH OF CONTRACT;
                                               •   PRAIRIE MANAGEMENT & DEVELOPMENT, INC.’S ANSWER TO
                                                   TDH MECHANICAL, INC.’S AFFIRMATIVE DEFENSE;
                                               •   PRAIRIE MANAGEMENT & DEVELOPMENT, INC. AND ROCKWELL
                                                   PROPERTIES, INC.’S SECONDAMENDED THIRD PARTY COMPLAINT FOR
                                                   CONTRIBUTION AND CROSS-CLAIM FOR CONTRIBUTION; and
                                               •   PRAIRIE MANAGEMENT & DEVELOPMENT, INC. AND ROCKWELL
                                                   PROPERTIES, INC.’S ANSWER TO PLAINTIFF’S THIRD AMENDED COMPLAINT
                                                   AND AFFIRMATIVE DEFENSES.

                                            dated at Chicago, Illinois, this 29th day of March, 2019.

                                            BRENNER, MONROE, SCOTT & ANDERSON, LTD.                       Attorney for Prairie
                                            120 North LaSalle Street, Suite 2100                          Management &
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                                            Telephone: (312) 781-1970                                     Rockwell Properties, Inc.

                                                                 Columbia - Scottsdale/Westfield 000186
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                                                                             CERTIFICATE OF MAILING

                                                    The undersigned, a non-attorney, states that she served a copy of the above Notice of Filing,
                                            together with above-named documents to the attorney mentioned above via email, before the hour
                                            of 5:00 p.m. on the 29th day of March, 2019.
FILED DATE: 3/29/2019 4:17 PM 2017L003510




                                                                                                  s/Marge Busiel
                                                                                                  [X]     Under penalties as provided by law pursuant to
                                                                                                          735 ILCS 5/1-109 (1993) I certify that the
                                                                                                          statements set forth herein are true and correct.
                                            Brenner, Monroe, Scott, & Anderson, Ltd.
                                            120 North LaSalle Street
                                            Chicago, Illinois 60602
                                            (312) 781-1970




                                                                  Columbia - Scottsdale/Westfield 000187
                                             Case: 1:23-cv-02528 Document #: 61-1 Filed: 08/01/24 Page 41 of 42 PageID #:740
                                            Guzman and Avina vs. Prairie
                                            Case No.: 17 L 3510

                                                                                 SERVICE LIST
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                                             Andrew Kreigel                            Engineering, P.C.
FILED DATE: 3/29/2019 4:17 PM 2017L003510




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                                            Case: 1:23-cv-02528 Document #: 61-1 Filed: 08/01/24 Page 42 of 42 PageID #:741
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